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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,

              Plaintiff,

v.                                                        Criminal No. 10-195 (JNE/JJK)
                                                          ORDER
Brenda L. Epperly (3),

              Defendant.

       This case is before the Court on a Report and Recommendation issued by the Honorable

Jeffrey J. Keyes, United States Magistrate Judge, on October 19, 2010. The magistrate judge

recommended denial of Defendant’s Motion to Suppress Evidence. The Court has conducted a

de novo review of the record. See D. Minn. LR 72.2(b). Based on that review, the Court adopts

the Report and Recommendation [Docket No. 78]. Therefore, IT IS ORDERED THAT

Defendant’s Motion to Suppress Evidence [Docket No. 48] is DENIED.

Dated: November 30, 2010

                                                          s/ Joan N. Ericksen
                                                          JOAN N. ERICKSEN
                                                          United States District Judge
